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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                             CASE NO. 05-20893-CR-GRAHAM

  UNITED STATES OF AMERICA

               Plaintiff,

  vs.

  ERIC GARDINER,

               Defendants.

  JOSEPH HANNA ABI CHEDID,

       Third Party Petitioner
  ___________________________/


          ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon Petitioner’s Motion for

  Modification of Forfeiture Order and Release of Property Forfeited

  (D.E. 583) and the Government’s Motion to Dismiss for Failure to

  Comply with 21 U.S.C. §853, (D.E. 603).

        THE MATTER was referred to Magistrate Judge John J. O’Sullivan

  United States Magistrate Judge on November 4, 2006. A Report and

  Recommendation (D.E. 653) filed on December 5, 2006, recommended

  that the Petitioner’s Motion for Modification be Dismissed for

  failure to comply with procedural requirements of 21 U.S.C. §853(n)

  and   that    the   Government’s    Motion   to   Dismiss   be   Granted.   The

  Petitioner and the Government were afforded the opportunity to file

  objections     to   the    Report   and   Recommendation.    The   Court    has

  conducted a de novo review of the entire file. Accordingly, it is
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        ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge John J. O’Sullivan, is hereby
  Adopted and Approved in its entirety.

        DONE AND ORDERED in Chambers at Miami, Florida, this 7th          day

  of February, 2007.


                                           __________________________
                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE


  Copied: Magistrate Judge O’Sullivan
          Barbara Papademetriou, AUSA
          George Karavetsos, AUSA
          Joseph Hanna Abi Chedid
